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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


BRIAN HUDDLESTON,

         Plaintiff,

vs.
                                                     Case No. 4:20-cv-447-ALM
FEDERAL BUREAU OF
INVESTIGATION and UNITED STATES
DEPARTMENT OF JUSTICE

         Defendant


               AMENDED PARTIAL OBJECTION TO DEFENDANT FBI’S
               MOTION FOR LEAVE TO SUBMIT EXHIBIT IN CAMERA

       NOW COMES Brian Huddleston, the Plaintiff, objecting in part to D EFENDANT FBI’S

MOTION OR LEAVE TO FILE IN CAMERA (“MOTION FOR LEAVE) (Doc. No. 55):

       As the Court knows, the Plaintiff seeks in camera review of all documents withheld or

redacted by the FBI, not just a single document. See PLAINTIFF’S RESPONSE IN OPPOSITION TO

DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AND PLAINTIFF’S CROSS-MOTION FOR

SUMMARY JUDGMENT (Doc. No 46) pp. 20-21. Accordingly, the Plaintiff does not object to in

camera review of the 10-page document described in the MOTION FOR LEAVE. The Plaintiff does,

however, object to in camera review of the document without permitting the undersigned to view

that document subject to an “attorney eyes only” protective order.

       The paramount importance of vigorous representation follows from the nature of our
       adversarial system of justice. This system is premised on the well-tested principle that
       truth—as well as fairness—is “ ‘best discovered by powerful statements on both sides of
       the question.’ ” Kaufman, Does the Judge Have a Right to Qualified Counsel?, 61
       A.B.A.J. 569, 569 (1975) (quoting Lord Eldon); see also Cronic, 466 U.S., at 655, 104
       S.Ct., at 2044; Polk County v. Dodson, 454 U.S. 312, 318–319, 102 S.Ct. 445, 449–50,



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       70 L.Ed.2d 509 (1981).

Penson v. Ohio, 488 U.S. 75, 84, 109 S. Ct. 346, 352, 102 L. Ed. 2d 300 (1988). The undersigned

cannot offer “powerful statements… on the question” if he is not permitted to view the

document.

       If, for example, the FBI obtained copies of private communications that were exchanged

on Twitter’s direct messaging system, and it did so without a warrant, then the undersigned

should be permitted to offer an argument for public release of the document. Likewise, if the FBI

obtained information from eBay regarding Seth Rich’s or Aaron Rich’s transactions, and it

obtained that information without a warrant, then the undersigned should be permitted to offer an

argument for public release of the document. Either scenario would be a matter of legitimate

public interest, particularly given the ongoing controversy surrounding the FBI’s widespread

surveillance of U.S. citizens. On April 30, 2022, various media outlets reported that the FBI may

have conducted as many 3.4 million searches on U.S. citizens without a warrant. See, e.g., Lily

Hay Newman, “Security News This Week: The FBI Conducted 3.4 Million Warrantless Searches

of Americans' Data,” April 30, 2022, Wired, https://www.wired.com/story/fbi-warrantless-

searches-americans-2021-security-roundup/, citing Office of the Director of National

Intelligence, “Annual Statistical Transparency Report Regarding the Intelligence Community’s

Use of National Security Surveillance Authorities,” April 2022, https://www.dni.gov/files/CLPT/

documents/2022_ASTR_for_CY2020_FINAL.pdf. In an October 18, 2018 order and another on

July 12, 2019, U.S. District Judge James Boasberg found that the FBI had conducted illegal

searches on thousands of U.S. citizens. See October 18, 2018 Memorandum Opinion and Order,

https://www.intel.gov/assets/documents/702%20Documents/declassified/2018_Cert_FISC_Opin

_18Oct18.pdf, and July 12, 2019 Memorandum Opinion and Order, https://www.dni.gov/files/



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CLPT/documents/2022_ASTR_for_CY2020_FINAL.pdf. If “Big Tech” is permitting the FBI to

surveil U.S. citizens without a warrant, then the public has every right to know that. But

regardless of whether the ten-page document came from Twitter, eBay, or an entirely different

“commercial institution” (like a bank or a cell phone provider), Plaintiff’s Counsel cannot

present an argument on behalf of the Plaintiff if he does not know what type of document is

before the Court.

       According to the FBI, there are no national security issues at stake, only the interests of

the commercial institution and the desire to protect law enforcement methods. Plaintiff’s Counsel

is a former law enforcement officer and, obviously, an officer of the court. As such, he has no

interest in compromising legitimate law enforcement techniques. Likewise, he has no interest in

disclosing information that is genuinely proprietary as opposed to genuinely embarrassing to the

commercial institution in question. If the Court permits the undersigned to view the ten-page

document subject to an “attorney eyes only” order, the undersigned will not disclose any

information from the ten-page document unless he is granted permission by the Court.

                                           Conclusion

       The undersigned should be permitted to view the ten-page document subject to an

“attorney eyes only” order.

                                              Respectfully submitted,

                                              /s/ Ty Clevenger
                                              Ty Clevenger
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                                              Counsel for Plaintiff Brian Huddleston


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                                   Certificate of Conference

        On May 6, 2022, I conferred with Asst. U.S. Attorney Andrea Parker via email, and she
indicated that the Defendants will oppose this motion.

                                            /s/ Ty Clevenger
                                            Ty Clevenger



                                     Certificate of Service

        On May 6, 2022, I filed a copy of this response with the Court’s ECF system, which
should result in automatic notification via email to Asst. U.S. Attorney Andrea Parker, Counsel
for the Defendants, at andrea.parker@usdoj.gov.

                                            /s/ Ty Clevenger
                                            Ty Clevenger




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